Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 1 of 24 Page ID #:48




     1 Light Exterior Wall Lantern with Motion Sensor

    Home Depot SKU 1002099636 (UPC 718212222119)

                  (Oil Rubbed Chestnut Finish)




           INSTRUCTION MANUAL

                                                                                Page 1


                                                                EXHIBIT C 047
             Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 2 of 24 Page ID #:49


Thank you for purchasing this Home Decorators Collection exterior wall lantern.
This product has been manufactured with the highest standards of safety and
quality. The finish of this lantern is weather resistant but over time will naturally
weather and fade.

WARNING: This equipment has been tested and found to comply with the limits for a Class B
digital device, pursuant to Part 15 of the FCC Rules. These limits are designed to provide reasonable
protection against harmful interference in a residential installation. This equipment generates, uses and
can radiate radio frequency energy and, if not installed and used in accordance with the instructions,
may cause harmful interference to radio communications.
However, there is no guarantee that interference will not occur in a particular installation. If this
equipment does cause harmful interference to radio or television reception, which can be determined
by turning the equipment off and on, the user is encouraged to try to correct the interference by one or
more of the following measures:
• Reorient or relocate the receiving antenna.
• Increase the separation between the equipment and the receiver.
• Connect the equipment into an outlet on a circuit different from that to which the receiver is
   connected.
• Consult the dealer or an experienced radio/TV technician for help.

Changes or modifications not expressly approved by the party responsible for
compliance could void the user’s authority to operate the equipment.

FEATURES:

1. MOTION SENSOR FUNCTION-The motion sensor activates at dusk and automatically turns the
    light on when it detects a moving heat source such as people and vehicles are within its coverage
    area. The motion sensor will remain active throughout the night and deactivate at dawn.
   (Note: When power is first applied, the light will come on for about 20 sec. to allow the electrical
   current to stabilize. Once stable the software in the Motion Sensor’s Test Mode and Auto Mode
   functions can be carried. The sensor has 2 knobs one is to adjust the sensitivity and the second is a
   shut off delay timer. (See fig.1) The motion sensor should be turned as Fig.2 to adjust the knobs
   location from the back to the side for accessibility when needed to adjust the settings.)
                                      TEST MODE              AUTO MODE                                                     Fig.2
         Works at                     Day & Night              Night only
       Activated by                     Motions                 Motions
         On time                    As motion existing      As motion existing
    Shut-off delay time                  5Sec.               10Sec.～10Min.

                                                           Fig.1                 TURN
                             1'                 5'

                          Auto
                                                                                 Light Cap rotates to the right for easy
                                                                                    access to motion sensor settings
                                                     10'
                          Test

                                    TIMER
                           13Ft                 21Ft




                           5Ft                   30Ft



Page 2                            SENSITIVITY




                                                                                                       EXHIBIT C 048
           Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 3 of 24 Page ID #:50


2. Manual Override Mode (auto rest at dawn)                                                           Fig.3
  During night, by switching off the wall                         Manual Override Operating
  switch for 2 seconds and then on again,                             Turn wall switch
  the light will be turned on to dawn. To                             OFF-ON within 2 sec          Manual
                                                           Auto
  return to Auto Mode, simply switch the                   Mode
                                                                                                   Override
                                                                                                   Mode
  power off and switch on again in the
  same manner.                                                       Turn wall switch OFF-ON
                                                                     within 2sec.or reset
3. Uses medium-based incandescent light bulb.                        automatically at dawn


SPECIFICATIONS:

1. Motion Sensor Range: Up to 30 ft (Varies with surrounding temperature).
2. Sensor Detection Angle: 220º.                                                                    Fig.4


Testing and Setting:

 1. If installed at a height of 6.5′, the lantern will provide a
     detection distance up to 30′ (See fig.4). The sensitivity
     increases win cooler temperatures you may wish to make adjustment as seasons change.
 2. The sensor is more sensitive to movements across its detection path rather than the movements
    towards it directly. Walk at normal speeds across the detection area to set the desired detection
    distance properly.
 3. During Test Mode, the light will come ON for 5 sec. every time when movement is detected. Set
    the Shut-off Delay Timer only when the light is in the Auto Mode.
 4. Clean the sensor lens with soft cloth every 1 or 2 month to dust the sensor from less sensitivity.

Sensitivity:
1. The sensitivity was set at the maximum by the factory. By turning the knob in counterclockwise, the
    detection distance can be decreased to the minimum of 5’.
2. The detection range can reach the coverage of 220 degrees (approx.).

Shut-off Delay time:
During Auto Mode, the light will stay ON as long as motion is detected. When no movement is
detected, the light will turn OFF after the delay time has elapsed. The time is 10 sec at the minimum;
By turning the knob in clockwise, it will increased the time up to 10 min. as the maximum.

SELECTING A LOCATION:

1. When selecting a location, be aware that the motion sensor is more sensitive to movement across
   its coverage area and less sensitive to movement toward or away from the motion sensor. (Fig 5)
                                                                                                      Page 3


                                                                                   EXHIBIT C 049
           Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 4 of 24 Page ID #:51


SELECTING A LOCATION (CONTINUED):
                                  Fig 5




                  SENSOR                     SENSOR
              Least Sensitivity           Best Sensitivity

2. Select locations away from nighttime light sources, such as street lamps or other light fixtures. They
   may shine light onto the fixture’s photocell sensor. This light might cause the circuit to “think” that
   it is daytime and not allow the fixture’s functions to operate.
3. Be aware that shade from a porch or an eave may not allow enough daylight to shine onto the
    motion sensor and may cause the circuit to “think” that it is nighttime, and subsequently cause the
    light to come on during the daytime.
4. Be aware that motorized equipment, such as power tools, on the same electrical circuit may cause
    oscillations on the electrical line which might cause the fixture to malfunction.
5. Select locations away from heat sources, such as heating vents, air conditioners, and heated
    swimming pools.

QUESTIONS, PROBLEMS, MISSING PARTS:

Before returning to your local Home Depot, please call our Customer Service Team at 1-
800-986-3460 or visit HOMEDEPOT.COM/HOMEDECORATORS.
Please reference your SKU 1002099636 Oil Rubbed Chestnut Finish fixture or UPC
718212222119 Oil Rubbed Chestnut Finish fixture.

CAUTION:

 1. Before starting installation of this fixture or removal of a previous fixture,
    disconnect the power by turning off the circuit breaker or by removing the fuse at
    the fuse box.
 2. CONSULT A QUALIFIED ELECTRICIAN IF YOU HAVE ANY ELECTRICAL
    QUESTIONS.
 3. If you have any non-electrical questions about this fixture, please contact our
    Customer       Service       Team        at      1-800-986-3460      or      visit
    HOMEDEPOT.COM/HOMEDECORATORS. Please reference your SKU
    1002099636 Oil Rubbed Chestnut Finish fixture or UPC 718212222119 Oil
    Rubbed Chestnut Finish fixture.
 4. Keep your receipt and these Instructions for Proof of Purchase.

Page 4


                                                                                     EXHIBIT C 050
            Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 5 of 24 Page ID #:52


TOOLS REQUIRED FOR ASSEMBLY & INSTALLATION (Not included):




    Light Bulb                    Safety goggles           Silicon Rubber Sealant      Wire strippers
 SKU 1002099636 60 Watt maximum                                for exterior use




     Flathead screwdriver               Phillips screwdriver         Electrical tape    Wire cutters


PARTS INCLUDED FOR ASSEMBLY (parts are not to scale):




       2 screw (#1)                            2 Cap Nuts (#3)


ASSEMBLY INSTRUCTIONS:

   1. Shut off power at the fuse box or circuit breaker box, if necessary remove old fixture and all
      mounting hardware from outlet box.
   2. Carefully unpack your new fixture and lay out all the parts on a clear area, take care not to lose
       any small parts necessary for installation.
   3. Install light bulbs in accordance with the fixtures specifications. (DO NOT EXCEED THE
       MAXIMUM WATTAGE RATING!!)
   4. Glass panel is pre-assembled, if doing glass replacement, unscrew Screws (#1), separate
       Fixture frame (#7) from cover (#2) and take off broken glass panel, then insert the Glass Panel
       (#6) into the Fixture frame (#7). Finally screw the Screws (#1) back to secure the fixture frame
       with the cover.




                                                                                                         Page 5


                                                                                         EXHIBIT C 051
            Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 6 of 24 Page ID #:53


ASSEMBLY:
                                                   3. Cap Nut

                         2. Cover                        4. Back Plate




                                                    5.Light Bulb

                                                     6.Glass Panel
                        1. Screw

                                                    7. Fixture Frame




                       PARTS INCLUDED FOR INSTALLATION (parts are not to scale):



1 Ground Screw (#12)         2 Outlet Box Screws (#13)       2 Mounting Screws (#10)




1 Cross Bar (#11)       3 Wire Connectors (#8)


INSTALLATION INSTRUCTIONS:

1. Screw the two Mounting Screws (#10) into the cross bar (#11). Mount the cross bar (#11) to the
    Outlet Box (#9) using the two provided Outlet Box Screws (#13). [Make sure the threads of the
    Mounting Screws (#10) are facing outside when the cross bar (#11) is attached to the Outlet Box
    (#9).] The side of the Cross Bar (#11) marked “GND” must face out.
2. Connect the white wire from the fixture to the white wire from the Outlet Box (#9), and the black
   wire from the fixture to the black wire from the Outlet Box (#9). Cover the two wire connections
   using the provided Wire Connectors (#8). Wrap the two wire connections with electrical tape for
   a more secure connection. If your outlet box has a ground wire (green or bare copper), connect
   fixture’s ground wire to it using the wire connector (#8). Otherwise connect the copper ground
   from the fixture to Ground screw (#12) on the Cross bar (#11). Note: If you have electrical
   questions, consult your local electrical code for approved grounding methods.
Page 6


                                                                                       EXHIBIT C 052
           Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 7 of 24 Page ID #:54


INSTALLATION INSTRUCTIONS (CONTINUED):

3. Mount the body of the fixture on the wall by aligning the protruding Mounting Screws (#10) all
   the way through the holes on the Back Plate (#4). Be careful not to pinch any of the wires
   between the fixture and the Outlet Box (#9). Tighten the fixture to the wall by screwing the two
   cap nut (#3) onto the two protruding Mounting Screws (#10).
4. Once the fixture is mounted on the wall, caulk the space between the wall and the upper 3/4 area
   of the Back Plate (#4) to prevent water seeping into the Outlet Box (#9). Leave the bottom 1/4
   area un-caulked for drainage of any water which might leak into the enclosure.
5. Installation is complete. Turn on the power at the circuit breaker or fuse box. Turn the light
   switch on to activate the fixture.

INSTALLATION:

                                   8.Wire Connector
                                                   9.Outlet Box

                         3.Cap Nut


                                                          10.Mounting Screw
                                                         11.Cross Bar
                                                    12.Ground Screw
                                            13.Outlet Box Screw




PRODUCT MAINTENANCE:

1. To clean the outside of the fixture, use a dry or slightly dampened clean cloth (use clean water,
   never a solvent) to wipe the glass and surface of the fixture.
2. To clean the inside of the fixture, first disconnect power to the fixture by turning off the circuit
   breaker or by removing the fuse at the fuse box. Next, use a dry or slightly dampened clean cloth
   (use clean water, never a solvent) to wipe the inside glass and interior surface of the fixture.
3. Do not use any cleaners with chemicals, solvents or harsh abrasives. Use only a dry soft cloth to
   dust or wipe carefully.



                                                                                                  Page 7


                                                                                  EXHIBIT C 053
             Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 8 of 24 Page ID #:55


TROUBLESHOOTING:

         SYMPTOM                           Possible Cause                                  Solution
                            Wall switch or circuit breaker is off           Turn on a switch or circuit breaker.
                                                                            Test the light bulb in a known working
                            Light bulb may be dead.                         light fixture
                            Light bulb is loose.                            Tighten the light bulb in the socket.
 In motion sensing mode,    Incorrect or loose wire connections.            Check wire connections.
 the light does not turn
                            Too much sunlight is shining into photocell     Relocate fixture away from a western
 on when there is motion
                            sensor in the early evening.                    facing wall.
                                                                            Eliminate or turn off other light source,
                            Too much light is shining onto photocell        block other light source from shining
                            sensor due to another light source, such as a   onto photocell sensor, or relocate
                            street lamp or other light fixture.             fixture.
 In motion sensing mode,    False triggering caused by a heat source,
 the light stays on         such as a heater or dryer vent, or heated       Eliminate heat source or relocate fixture
 continuously.              swimming pool.
                            Street or sidewalk traffic is triggering        Lower the sensitivity.
                            motion sensor
 The light comes on for
 no apparent reason         False triggering caused by a heat source,
                            such as a heater or dryer vent, or heated       Eliminate heat source or relocate fixture
                            swimming pool.
                            The fixture may be installed in a shaded
 The light comes on
                            area, such as under a porch or eave,            Relocate the fixture
 during the daytime or
                            preventing daylight from shining onto the
 too early in the evening
                            photocell sensor.

                                           LIMITED WARRANTY
The manufacturer warrants this lighting fixture to be free from defects in materials and workmanship for a period
of three (3) years from date of purchase. This warranty applies only to the original consumer purchaser and only to
products used in normal use and service. If this product is found to be defective, the manufacturer’s only
obligation, and your exclusive remedy, is the repair or replacement of the product at the manufacturer’s discretion,
provided that the product has not been damaged through misuse, abuse, accident, modifications, alterations,
neglect or mishandling. This warranty shall not apply to any product that is found to have been improperly
installed, set-up, or used in any way not in accordance with the instructions supplied with the product. This
warranty shall not apply to a failure of the product as a result of an accident, misuse, abuse, negligence, alteration,
or faulty installation, or any other failure not relating to faulty material or workmanship. This warranty shall not
apply to the finish on any portion of the product, such as surface and/or weathering, as this is considered normal
wear and tear. The manufacturer does not warrant and specially disclaims any warranty, whether express or
implied, of fitness for a particular purpose, other than the warranty contained herein. The manufacturer
specifically disclaims any liability and shall not be liable for any consequential or incidental loss or damage,
including but not limited to any labor / expense costs involved in the replacement or repair of said product.




Page 8


                                                                                                   EXHIBIT C 054
  Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 9 of 24 Page ID #:56




1 luz de la pared exterior de la linterna con sensor de movimiento

   Home Depot SKU 1002099636 (UPC 718212222119)

                          (Castaña Aceitado)




        MANUAL DE INSTRUCCIONES
                                                                                  Page 9


                                                                  EXHIBIT C 055
           Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 10 of 24 Page ID #:57


Gracias por la compra de este accesorio Home Decorators Collection Linterna de
pared para el exterior Este producto ha sido fabricado con los más altos niveles de
seguridad y calidad. El acabado de esta linterna es resistente a la intemperie, pero
con el tiempo se va ir desvaneciendo naturalmente.

ADVERTENCIA: Este equipo ha sido probado y cumple con los límites para un dispositivo
digital de Clase B, según la Parte 15 de las normas de la FCC. Estos límites están diseñados para
proporcionar una protección razonable frente a interferencias perjudiciales en una instalación
residencial. Este equipo genera, utiliza y puede irradiar energía de frecuencia y, si no se instala y
utiliza de acuerdo con las instrucciones, puede causar interferencias en las comunicaciones de radio.
Sin embargo, no hay garantía de que no se produzcan interferencias en una instalación particular. Si
este equipo causa interferencias perjudiciales en la recepción de radio o televisión, lo cual puede
determinarse apagándolo y encendiéndolo, se recomienda al usuario que intente corregir la
interferencia mediante una o más de las siguientes medidas:
• Reorientar o reubicar la antena receptora.
• Aumentar la separación entre el equipo y el receptor.
• Conectar el equipo a una toma de un circuito distinto de aquel al que está conectado el receptor.
• Consulte al distribuidor oa un técnico de radio / TV para obtener ayuda.

Los cambios o modificaciones no aprobados expresamente por la parte responsable
del cumplimiento podrían anular la autoridad del usuario para operar el equipo.
CARACTERÍSTICAS:

1. SENSOR DE MOVIMIENTO DE FUNCIONES - El sensor de movimiento se activa
  automáticamente al anochecer y se enciende la luz cuando detecta una fuente de calor en
  movimiento, como personas y vehículos se encuentran dentro de su área de cobertura. El sensor de
  movimiento se mantendrá activo durante toda la noche y desactivar en la madrugada.
   (Nota: Cuando se aplica potencia en primer lugar, la luz se encenderá durante aproximadamente 20
   segundos para permitir que la corriente eléctrica para estabilizar vez estabilizado el software en las
   funciones del modo de prueba y el modo automático del sensor de movimiento puede ser llevada
   El sensor tiene 2 perillas uno es para ajustar la sensibilidad y el segundo es un temporizador de
   retardo de cierre. (Véase la figura 1) el sensor de movimiento se debe girar como Fig.2 para ajustar
   la ubicación perillas de la parte posterior.)
                                 Modo de prueba                          MODO AUTOMÁTICO
    Trabaja en                   De día y de noche                       La noche solo
    Activada por                 Mociones                                mociones
    A tiempo                     A medida que el movimiento existente    A medida que el movimiento existente
    Tiempo de apagado de retraso 5 Sec.                                  10 seg. ~ 10 Min

                                                       Fig.1                                                    Fig.2
                         1'                 5'

                      Auto


                                                 10'
                      Test

                                TIMER
                       13Ft                 21Ft




                       5Ft                   30Ft
                                                                   Vuelta
Page 10                       SENSITIVITY
                                                               La luz del casquillo gira hacia la derecha para facilitar
                                                               el acceso a los ajustes del sensor de movimiento

                                                                                                   EXHIBIT C 056
          Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 11 of 24 Page ID #:58


CARACTERÍSTICAS (Continuación):
                                                                                                        Fig.3

 2. Modo de anulación manual (automático                    Accionamiento manual de funcionamiento
    resto en la madrugada)                                              Girar el interruptor de
     Durante la noche, por la desconexión de la pared                   pared OFF-ON dentro
     cambiar durante 2 segundos y luego de nuevo , la       Modo de     de 2 seg                     Manual
     luz se enciende al amanecer. A volver al modo          prueba                                   Anular
                                                                                                     Modo
     automático, simplemente cambie el apague y                         Girar el interruptor de
                                                                        ared OFF-ON 2sec.or
     encienda de nuevo en el Misma manera.                              dentro de reposición
3. Utiliza bombilla incandescente basada en medio.                      automáticamente en la
                                                                        madrugada

PRESUPUESTO:
1. Alcance del sensor de movimiento: hasta 30 pies (varía con la temperature circundante).
2. Ángulo de detección del sensor: 220º.
                                                                                                  Fig.
Pruebas y Marco:                                                          4

1. Si instalada a una altura de 6,5', la linterna proporcionará una
    distancia de detección hasta 30 ' (Ver figura 4 ) . Los
    aumentos de sensibilidad ganan más frías Temperaturas le
    pueden desear hacer los ajustes que cambian las estaciones.
2. El sensor es más sensible a los movimientos a través de su trayectoria de detección en vez que los
   movimientos hacia él directamente. Camine a una velocidad normal a través de la área de
   detección para ajustar la distancia de detección deseada correctamente.
3. Durante el modo de prueba, la luz se enciende durante 5 segundos. cada vez cuando se
    detecta movimiento. Establecer el apagado del temporizador de retardo sólo cuando
    la luz es en el modo automático.
4. Limpiar la lente del sensor con un paño suave cada 1 ó 2 meses para limpiar el polvo
   del sensor de menos sensibilidad.

Sensibilidad:

1. La sensibilidad se estableció al máximo por el fábrica. Girando el mando en sentido antihorario, la
   distancia de detección se puede reducir a la mínimo de 5'.
2. El rango de detección puede alcanzar la cobertura de 220 grados (apro.).

Tiempo de desconexión de retardo：

Durante el modo automático, la luz permanecerá encendida mientras se detecta movimiento. Cuando
no se detecta movimiento, la luz se apagará después de que haya transcurrido el tiempo de retraso. El
tiempo es de 10 segundos mínimo: Al girar el mando hacia la derecha, aumentará el tiempo de hasta
10 minutos maximo.

                                                                                                        Page 11


                                                                                     EXHIBIT C 057
          Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 12 of 24 Page ID #:59


SELECCIÓN DE UNA UBICACIÓN:

1. Al seleccionar una ubicación, tenga en cuenta que el sensor de movimiento es más sensible para
    movimiento a través de su área de cobertura y menos sensible al movimiento hacia o lejos del
    sensor de movimiento. (Fig 5)
                                  Fig 5




                  SENSOR                      SENSOR
             Menos Sensibilidad           Mejor Sensibilidad

 2. Seleccione ubicaciones alejadas de las fuentes de luz durante la noche,        como farolas o otros
    artefactos de iluminación. Ellos pueden arrojar luz sobre el sensor fotocélula del aparato. Esta luz
    puede hacer que el circuito de "pensar" que es de día y no permitir las funciones del proyector en.
 3. Be consciente de que la sombra de un porche o un alero puede no permitir suficiente luz natural
    incida sobre el sensor de movimiento y puede hacer que el circuito de "pensar" que es durante la
    noche, y, posteriormente, hacer que la luz se encienda durante el día.
 4. Tenga en cuenta que los equipos motorizados, tales como herramientas eléctricas, en el mismo
    circuito eléctrico puede causar oscilaciones en la línea eléctrica que podría hacer que el
    dispositivo no funcione correctamente.
 5. Seleccione los lugares alejados de fuentes de calor, tales como ductos de calefacción o aire
    acondicionado y piscinas climatizadas.

Preguntas, problemas, piezas faltantes:

Antes de regresar a su oficina local de Home Depot, llame a nuestro Servicio de Atención
al 1-800-986-3460 o visite HOMEDEPOT.COM/HOMEDECORATORS. Por favor,
referir a SKU 1002099636 Castaña Aceitado accesorio o UPC 718212222119 Castaña
Aceitado accesorio.

PRECAUCIÓN:

1. Antes de comenzar la instalación de este lampara o eliminación de una luz anterior desconecte la
   alimentación apagando el interruptor o quitando el fusible en la caja de fusibles.
2. CONSULTE CON UN ELECTRICISTA SI TIENE ALGUNA PREGUNTAS
   ELÉCTRICAS.
3. Si usted tiene cualquier pregunta no eléctrica de esta, luz por favor, póngase en contacto con
   nuestro       Servicio       de      Atención        al       1-800-986-3460       o     visite
   HOMEDEPOT.COM/HOMEDECORATORS. Por favor, referir a SKU 1002099636 Castaña
   Aceitado accesorio o 718212222119 Castaña Aceitado accesorio.
4. Guarde su recibo y las instrucciones para la prueba de compra.

Page 12


                                                                                   EXHIBIT C 058
            Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 13 of 24 Page ID #:60


HERRAMIENTAS necesarias para el montaje y la instalación (no incluidos):




      bombilla                     gafas de seguridad        Sellador de caucho de silicio para          pelacables
   SKU 1002099636 60Watt máximo                              uso exterior




destornillador de cabeza plana    Phillips de cabeza plana            Cinta aislante              Cortaalambres


PIEZAS INCLUIDAS PARA LA ASAMBLEA (partes no están a escala):




                 2 tuerca (# 1)                                  2 contratuerca (# 3)


INSTRUCCIONES DE MONTAJE:

1. Apagar la corriente en la caja de fusibles o caja de interruptores de circuito, si es necesario,
    remueva la lápara vieja y todos los accesorios de montaje de la caja de salida.

2. Desempaque con cuidado la nueva lámpara y exponer todas las piezas sobre una zona clara,
    Tenga cuidado de no perder las piezas pequeñas necesarias para la instalación.

3. Instalar bombillas de conformidad con las especificaciones de la lámpara. (No sobrepasar la
    potencia nominal máximo!)

4. El vidrio esta pre-ensamblado, si tiene que reemplazo el vidrio, desenroscar los tornillos que
   sostienen (# 1), el marco del accesorio separando (# 7) la tapa (# 2) y quitar los vidrio rotos, a
   continuación, inserte el panel de vidrio (# 6) en el marco del accesorio (# 7). Finalmente atornillar
   los tornillos (# 1) de nuevo para fijar el marco de base con la tapa.




                                                                                                                    Page 13


                                                                                                    EXHIBIT C 059
            Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 14 of 24 Page ID #:61


ASAMBLEA:
                                                     3. Contratuerca


                              2. Cubierta               4. La placa trasera



                                                    5.Bombilla

                                                      6.Panel de vidrio
                             1. Tuerca

                                                     7. Conjunto de lámpara



PIEZAS INCLUIDAS para la instalación (las partes no están a escala):



  1 Tornillo de Tierra（#12）      2 Tornillos de la Caja de salida (#13)   2 ea tornillo de montaje (#10)




1 barra cruzada para (#11)        3 Conectores de cable (#8)

Instrucciones de instalación:

1. Atornille los dos tornillos de montaje (# 10) en el barra cruzada para (# 11). Monte el barra cruzada
   para (# 11) a la caja de salida (# 9) con los dos tornillos de caja de salida proveído (# 13).
   [Asegúrese de que las roscas de los tornillos de montaje (# 10) se salgan fuera del barra cruzada
   para (# 11) se adjunta a la caja de salida (# 9).] El lado de la barra cruzada para (#11) con "GND"
   marcado en él y dos puntos convexo debe enfrentar afuera.
2. Conecte el cable blanco del la lámpara al cable blanco de la caja de salida (#9), y el
   cable negro de la lámpara al cable negro de la caja de salida (#9). Cubra las dos
   conexiones de cable con los dos Conectores de alambre previstos (#8). Envuelva las
   dos conexiones de los cables con cinta aislante para una conexión más segura. Si su
   caja de salida tiene un cable de tierra (verde o desnudo de cobre), conecte el cable de
   tierra accesorio a la misma utilizando el conector de cable (#8). De otra manera
   conecte el alambre de cobre al tornillo de tierra (#12) en la barra cruzada para (#11).
   Nota: Si usted tiene preguntas eléctricas, consulte a su código de electricidad local
   por los métodos aprobados de puesta a tierra.
Page 14


                                                                                           EXHIBIT C 060
           Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 15 of 24 Page ID #:62


Instrucciones de instalación (Continuación):

3. Monte el conjunto de la lámpara en la pared, alineando los tornillos de montaje (# 10) a través de
   los orificios de la placa de pared (# 4). Tenga cuidado de no pellizcar cualquiera de los cables
   entre el aparato y la caja de salida (# 9). Apriete la fijación a la pared atornillando el dos tuercas
   de bloqueo (# 3) sobresale en los dos tornillos de montaje (#10).
4. Una vez que el aparato está montado en la pared, masilla el espacio entre la pared y el la ¾ parte
   superior de área de la placa de pared (# 4) para evitar filtraciones de agua en la caja de salida
   (# 9). Deja la parte inferior ¼ una área calafateada para el drenaje de toda el agua que pueda
   filtrarse en el recinto.
5. La instalación está completa. Encienda la energía en la caja de fusibles. Encienda el interruptor
   de la luz para activar el aparato.

INSTALACIÓN:

                           8.Conector de cable
                                                           9.Caja de salida

      3.Bola de montaje


                                                         10.Tornillo de montaje
                                                      11.Barra crusada
                                                  12.Tornillo verde de
                                                     puesta a tierra
                                  13.tornillos de la caja de salida


Mantenimiento de productos：

1. Para limpiar el exterior del aparato, utilice un seca o ligeramente húmeda tela (use agua limpia,
   nunca un disolvente) para limpiar el vidrio y la superficie de la lámpara.
2. Para limpiar el interior del aparato, primero desconecte la alimentación de la lámpara de apagar el
   interruptor de circuito o quitando el fusible de la caja de fusibles. A continuación, utilice una tela
   seca o ligeramente húmeda (use agua limpia, nunca un disolvente) para limpiar el cristal en el
   interior y la superficie interior de la lámpara.
3. No utilice limpiadores con productos químicos, solventes o abrasivos severos. Utilice sólo un paño
   suave y seco para el polvo o limpiar con cuidado.

                                                                                                      Page 15


                                                                                      EXHIBIT C 061
           Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 16 of 24 Page ID #:63


SOLUCIÓN DE PROBLEMAS:
      SÍNTOMA                           Causa posible                                     Solución
                          Interruptor de pared o un disyuntor está
                                                                       Encienda un interruptor o un disyuntor .
                          apagado
                                                                       Prueba de la bombilla en un conocido
                          bombilla puede estar muerto .
                                                                       aparato de luz de trabajo
                          bombilla está floja .                        Apriete la bombilla en el casquillo.
En el modo de detección
de movimiento , la luz    conexiones de cables incorrectas o
                                                                       Compruebe las conexiones de cable .
no se enciende cuando     sueltas .
hay movimiento            Demasiada luz del sol está brillando en el   Reubicar accesorio de distancia de una pared
                          sensor de la fotocélula en la tarde .        orientada al oeste .
                          El exceso de luz está brillando sobre el     Eliminar o desactivar otra fuente de luz , el
                          sensor fotocélula debido a otra fuente de    bloque de otra fuente de luz se refleje en
                          luz , tal como una lámpara de la calle u     sensor de la fotocélula , o la ubicación de
                          otro artefacto de iluminación .              accesorio .
En el modo de detección
                          Falsos disparos causados por una fuente
de movimiento , la luz                                                 Eliminar la fuente de calor o la ubicación de
                          de calor , tal como un calentador o de
permanece encendida                                                    accesorio
                          secadora o la piscina
continuamente .
                          Calle o acera tráfico está provocando
                                                                       Disminuir la sensibilidad .
                          sensor de movimiento
La luz se enciende sin
razón aparente            Falsos disparos causados por una fuente
                                                                       Eliminar la fuente de calor o la ubicación de
                          de calor , tal como un calentador o de
                                                                       accesorio
                          secadora o la piscina
La luz se enciende        El accesorio se puede instalar en una zona
durante el día o          de sombra , como bajo un porche o alero ,
                                                                     Reubicar el accesorio
demasiado temprano en     evitando la luz del día se refleje en el
la noche                  sensor de la fotocélula .

                                              GARANTÍALIMITADA
El fabricante garantiza que este accesorio de iluminación a estar libre de defectos en materiales y
mano de obra durante un período de cinco (3) años a partir de la fecha de compra. Esta garantía se
aplica sólo al comprador original y sólo a los productos utilizados en condiciones normales de
uso y servicio. Si se en cuentra que este producto está defectuoso, la única obligación del fabricante,
y su solución exclusiva, es la reparación o sustitución del producto, a discreción del fabricante,
siempre que el producto no ha sido dañado por el mal uso, abuso, accidentes, modificaciones,
alteraciones , negligencia o mal manejo. Esta garantía no se aplicará a cualquier producto que se
demuestre que ha sido instalado incorrectamente, puesta a punto, o utilizado en cualquier manera no
conforme con las instrucciones suministradas con el producto. Esta garantía no se aplicará a una
falla del producto como consecuencia de un accidente, mal uso, abuso, negligencia, alteración o
instalación defectuosa, o cualquier otro fallo que no se refieran a los materiales o ejecución
defectuosa. Esta garantía no se aplicará a la meta en cualquier parte del producto, tales como la
superficie      y / o la intemperie, ya que se considera uso y desgaste normal.
El fabricante no garantiza y especialmente niega cualquier garantía, expresa o implícita, de
aptitud para un propósito        particular,      excepto la      garantía contenida en este
documento. El fabricante rechaza específicamente cualquier responsabilidad y no será
responsable por cualquier pérdida consecuente o incidental o daños, incluyendo pero no
limitado a cualquier mano de obra Gastos de gastos que implica la sustitución o reparación de
dicho producto.
Page 16


                                                                                                EXHIBIT C 062
      Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 17 of 24 Page ID #:64




1 extérieur applique murale lampe de poche avec détecteur de mouvement

      Home Depot SKU 1002099636 (UPC 718212222119)

                                 (châtaignier Oiled)




                  MANUEL D'INSTRUCTIONS

                                                                                      Page 17


                                                                      EXHIBIT C 063
            Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 18 of 24 Page ID #:65


Nous vous remercions d'avoir acheté ce Home Decorators Collection Lanterne
pour mur extérieur. Ce produit a été fabriqué avec des niveaux plus élevés de
sécurité et de qualité. La finale de cette lampe de poche est résistante aux
intempéries, mais avec le temps il sera la décoloration naturelle.

ATTENTION: Cet équipement a été testé et jugé conforme aux limites d'un appareil numérique de
classe B, en vertu de la partie 15 des règles de la FCC. Ces limites sont conçues pour fournir une
protection raisonnable contre les interférences nuisibles dans une installation résidentielle. Cet
équipement génère, utilise et peut émettre de l'énergie radiofréquence et, si non installé et utilisé
conformément aux instructions, il peut causer des interférences nuisibles aux communications radio.
Cependant, il n'y a aucune garantie que l'interférence ne se produira pas dans une installation
particulière. Si cet appareil provoque des interférences nuisibles à la réception radio ou télévision, qui
peut être déterminé en l'éteignant et, pour essayer de corriger l'interférence par une ou plusieurs des
mesures suivantes, il est recommandé:
• Réorienter ou déplacer l'antenne de réception
• Augmenter la distance entre l'équipement et le récepteur.
• Branchez l'appareil dans une prise sur un circuit différent de celui auquel le récepteur est connecté.
• Consulter le revendeur ou un technicien radio / TV expérimenté.

Les changements ou modifications non expressément approuvés par la partie
responsable de la conformité pourrait annuler l'autorisation de l'utilisateur à
utiliser l'équipement.

FEATURES:

1.   FONCTION CAPTEUR MOTION - Le détecteur de mouvement se met automatiquement au
     crépuscule et la lumière vient quand il détecte une source de chaleur en mouvement, tels que les
     personnes et les véhicules sont dans sa zone de couverture. Le détecteur de mouvement reste actif
     tout au long de la nuit et à l'aube.
     (Remarque:Lorsque l'alimentation est d'abord appliquée , la lumière viendra pendant environ 20
     secondes pour permettre au courant électrique pour stabiliser une fois stabilisé le mode logiciel
     fonctions de test et le mode automatique, le capteur de mouvement peut être porté le capteur
     dispose de 2 boutons on est d'ajuster la sensibilité et le second est un délai de fermeture minuterie.
     (Voir figure 1) le capteur de mouvement doit être tourné que les boutons pour régler Fig.2
     emplacement du dos la partie à la.)
                                               Mode d'essai              AUTO MODE
            Il travaille à      Le jour et la nuit               soir seulement
            Activé par          mouvements                       mouvements
            À temps             Comme le mouvement existant      Comme le mouvement existant
            Off time retarder   5Sec.                            10Sec.～10Min.


Page 18


                                                                                       EXHIBIT C 064
          Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 19 of 24 Page ID #:66


FEATURES (SUITE):
  Fig.1                                                                                                     Fig.2


                    1'                 5'

                 Auto


                                            10'
                 Test

                           TIMER                             Tour
                  13Ft                 21Ft

                                                        Cap Lumière tourne dans le sens horaire pour
                  5Ft                   30Ft
                                                        faciliter l'accès aux réglages du capteur de
                         SENSITIVITY                    movement

                                                                                                              Fig.3
2. Mode manuel de priorité (repos                              Fonctionnement opération manuelle
                                                                          Tourner l'interrupteur
   automatique du matin)                                                  mural OFF-ON dans les
  Pendant la nuit, le passage du mur changer pendant           Mode       2 secondes                   Manuaalinen
  2 secondes , puis à nouveau, la lumière vient sur à          d'essai                                 Mitätön tila
   l'aube. Arevenir en mode automatique, changer
                                                                         Tourner l'interrupteur
  simlement le et rallumez dans le Même façon.                            Mural OFF-ON 2sec.
3. Utilisez milieu à base de l'ampoule incandescente.                    or au sein de la reconstitution
                                                                         automatiquement à l'aube

DEVIS:
1. Champ d'application du capteur de mouvement: jusqu'à 30 pieds (varie avec la température
   ambiante).
2. Capteur angle de détection: 220°.                               Fig.4

Test et Cadre:
 1. Si elle est installée à une hauteur de 6.5', lampe de poche offrent
     une distance de détection jusqu'à 30 ' (voir figure 4).
     Augmente la sensibilité de gagner des températures plus froides
     sera ils peuvent vouloir faire des ajustements que le changement des saisons.
  2. Le capteur est plus sensible au mouvement à travers le chemin de détection plutôt mouvements à
     lui directement. Marchez à une vitesse normale à travers la zone de détection pour ajuster
     correctement la détection de distance souhaitée.
 3. En mode de test, la lumière tourne pendant 5 secondes. chaque mouvement de temps est détectée .
     Réglage de la minuterie de retard d'arrêt uniquement lorsque la lumière est en mode automatique.
 4. Nettoyez la lentille du capteur avec un chiffon doux, tous les 1 à 2 mois à la poussière du capteur
    moins sensible.

Sensibilité:
1. La sensibilité maximale a été établie par l'usine. Tourner le bouton dans le sens antihoraire, la
   distance de détection peut être réduite au minimum de 5 '.
2. La zone de détection peut atteindre 220 degrés de couverture (appro . ) .

                                                                                                            Page 19


                                                                                           EXHIBIT C 065
          Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 20 of 24 Page ID #:67


Arrêter le temps de retard：

En mode automatique, la lumière restera allumée aussi longtemps que le mouvement est détecté. Si
aucun mouvement est détecté, la lumière s'éteindra après le temps de retard est écoulé. Le temps est de
10 secondes minimum: Tourner le bouton dans le sens horaire augmente le temps jusqu'à 10 minutes
maximum.

Sélection d'un emplacement:

1. Al choix d'un emplacement, notez que le capteur de mouvement est plus sensible au mouvement
   dans sa zone de couverture et moins sensible à un mouvement vers ou à l'écart du capteur de
   mouvement. (Figure 5).
                                                       Fig 5




                                     CAPTEUR                        CAPTEUR
                                Moins de Sensibilité           Meilleure Sensibilité

2. Sélectionnez endroits éloignés de sources de lumière pendant la nuit, comme réverbères ou autres
   luminaires. Ils peuvent faire la lumière sur le dispositif de capteur photoélectrique.Cette lumière
   peut provoquer le circuit à «penser », il est le jour et ne pas permettre les fonctions du projecteur.
3. Be conscient que l'ombre d'un porche ou faux peut ne pas permettre suffisamment de lumière
   naturelle frappe le capteur de mouvement et peut amener le circuit à " penser" qui est la nuit , et
   ensuite faire la lumière vient pendant la journée .
4. On notera que le moteur, tels que des outils électriques, dans le même équipement circuit électrique
     peut provoquer des oscillations dans la ligne d'alimentation qui pourrait provoquer le
     dysfonctionnement de l'appareil.
5. Sélectionnez les endroits éloignés des sources de chaleur telles que les bouches de chauffage ou de
   la climatisation et des piscines chauffées.

Questions, des problèmes, des pièces manquantes:

Avant de retourner à votre Home Depot local, appelez notre Service Center au 1-800-
986-3460 ou visitez HOMEDEPOT.COM/HOMEDECORATORS. S'il vous plaît se
référer à SKU 1002099636 Châtaigne Oiled accessoire ou UPC 718212222119
Châtaigne Oiled accessoire.




Page 20


                                                                                       EXHIBIT C 066
             Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 21 of 24 Page ID #:68


ATTENTION:

1. Avant d'installer cette lampe ou la suppression d'un jour précédent, Mettez
   l'interrupteur ou en enlevant les fusibles dans la boîte à fusibles.
2. Consultez un électricien qualifié SI VOUS AVEZ DES ELECTRIQUE QUESTIONS.
3. Si vous avez des questions, ce pouvoir, de la lumière s'il vous plaît contacter notre
     Service         Center          au         1-800-986-3460          ou       visitez
     HOMEDEPOT.COM/HOMEDECORATORS. S'il vous plaît se référer à SKU
     1002099636 Châtaigne Oiled accessoire ou UPC 718212222119 Châtaigne Oiled
     accessoire.
4. Conservez votre reçu et des instructions pour preuve d'achat.

Outils nécessaires pour l'assemblage et l'installation (non inclus)：




    l'ampoule.                 lunettes de sécurité         Silicone produit d'étanchéité en         Strippers
  SKU 1002099636 60 Watt max                                   caoutchouc pour l'extérieur




tournevis à tête plate           Phillips à tête plate             Ruban isolant               Coupe-fil


PIÈCES FOURNIES pour l'assemblage (pièces ne sont pas à l'échelle):



               2 Vis (# 1)                               2 écrous (# 3)

INSTRUCTIONS D'ASSEMBLAGE:

1. Coupez le courant à la boîte de boîte de fusibles ou disjoncteurs, si nécessaire, retirez la vieille
   lampe et tous les accessoires pour le montage de la boîte de sortie.
2. Déballez soigneusement la nouvelle lampe et d’exposer toutes les pièces sur une zone claire, soyez
   déballez soigneusement la nouvelle lampe et d’exposer toutes les pièces sur une zone claire, soyez
   prudent de ne pas perdre les petites pièces nécessaires pour Installation.
3. Installez des ampoules en conformité avec les spécifications de la lampe. (Ne pas dépasser la
   puissance maximale nominale!)
                                                                                                                  Page 21


                                                                                                  EXHIBIT C 067
            Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 22 of 24 Page ID #:69


INSTRUCTIONS D'ASSEMBLAGE (SUITE):

4. Glass panel is pre-assembled, if doing glass replacement, unscrew Screws (#1), separate Fixture
   frame (#7) from cover (#2) and take off broken glass panel, then insert the Glass Panel (#6) into the
   Fixture frame (#7). Finally screw the Screws (#1) back to secure the fixture frame with the cover.

MONTAGE:
                                                               3. écrous


                                  2. Couvercle                       4. Plaque murale



                                                              5.L'ampoule

                                                                 6.Verre de l'écran
                                      1.Vis

                                                               7. Lampe Set




PIÈCES FOURNIES pour l'installation (pas les parties à l'échelle):



  1 Filetage rectifié vis (#12)         2 Vissez la boîte de sortie (#13)       2 vis de montage (#10)




  1 barre transversale (#11)           3 connecteurs de câble (#8)


Instructions d'installation:

1. Vissez les deux vis de montage (# 10) sur le tableau barre transversale (# 11). Montez la barre
   barre transversale (# 11) de la boîte de sortie (# 9) avec les deux vis boîte de sortie prévue (# 13).
   [Assurez-vous que le filetage des vis de fixation (# 10) se rendront sur la barre transversale (# 11)
   est attaché à la boîte de sortie (# 9).] Le côté de barre transversale (# 11) avec "GND" sur elle
   devra faire face out.
Page 22


                                                                                                EXHIBIT C 068
           Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 23 of 24 Page ID #:70


Instructions d'installation (SUITE):

2. Connectez le fil blanc au fil blanc de l'appareil de la boîte de sortie (#9) et le fil de montage noir
   au fil noir de la boîte de sortie (#9). Couvrir les deux connexions de câble avec connecteurs câble
   fourni (#8). Envelopper les deux connexions à fils avec du ruban électrique pour une connexion
   plus sûre. Si votre boîte de sortie a un fil de terre (vert ou cuivre nu), connectez le fil de terre
   Mobilier à l'aide du connecteur (#8). Sinon, connectez le terrain de cuivre de l'appareil à vis de
   terre (#12) sur la sangle barre transversale (#11). Note: Si vous avez des questions électriques,
   consultez votre code d'électricité local de méthodes approuvées de l'échouement.
3. Monter la lampe sur le mur, en alignant les vis de montage (# 10) par les trous de la plaque
   murale (# 4). Faites attention à ne pas’ pincer les câbles entre l'appareil et la boîte de sortie (# 9).
   Serrer la fixation au mur en vissant les deux écrous (# 3) excelle dans les deux vis de montage
   (# 10).
4. Une fois que le dispositif est monté sur le mur, calfeutrer l'espace entre le mur et les ¾ supérieure
   de la zone de la plaque murale (# 4) pour empêcher les infiltrations d'eau dans la boîte de sortie
   (# 9). Laissez le fond ¼ calfeutrés une région pour drainer l'eau qui pourrait s'infiltrer dans
   l'enceinte.
5. L'installation est terminée. Coupez l'alimentation sur la boîte à fusibles. Allumez interrupteur
   pour activer l'appareil.

INSTALLATION:
                                         8.Capuchon de connexion
                                                        9.Boîte de sortie

                           3.Écrou sphérique


                                                               10.Vis de montage
                                                            11.barre transversale
                                                        12.Vis de mise à la terre verte

                                            13.Vis pour boîte de sortie


Produits d'entretien (SUITE):

1. Pour nettoyer l'extérieur de l'appareil, utilisez un chiffon sec ou légèrement humide (utilisation
   propre, jamais un solvant) pour nettoyer le verre et la surface de la lampe.
2. Pour nettoyer l'intérieur de l'appareil, d'abord couper l'alimentation de la lampe à éteindre le
   disjoncteur ou en enlevant les fusibles de la boîte à fusibles. Ensuite, utilisez un chiffon sec ou
   légèrement humide (utilisation de l'eau propre, jamais un solvant) pour nettoyer le verre à
   l'intérieur et la surface intérieure de la lampe.
3. N'utilisez pas de produits chimiques, solvants ou des abrasifs rudes. Utilisez un doux chiffon sec et
   à la poussière ou nettoyer avec soin.
                                                                                                          Page 23


                                                                                          EXHIBIT C 069
            Case 5:18-cv-02549 Document 1-3 Filed 12/04/18 Page 24 of 24 Page ID #:71


DÉPANNAGE:

      SYMPTÔME                          Cause possible                                       Solution
                         Interrupteur mural ou le disjoncteur est éteint    Mettez un interrupteur ou circuit.
                                                                            Testez l'ampoule dans un dispositif connu
                         ampoule peut-être mort .
                                                                            des travaux légers
   En mode de            ampoule est lâche .                                Pincez l' ampoule dans la douille.
   détection de          Des connexions incorrectes ou lâches câbles .      Vérifiez les connexions des câbles.
   mouvement , la
   lumière ne vient      Trop la lumière du soleil brille sur le capteur    Déménager accessoire d'un mur orienté à
   pas quand il y a      photoélectrique dans l'après-midi.                 l'ouest .
   mouvement             Trop de lumière brille sur le capteur              Supprimer ou désactiver une autre source
                         photoélectrique en raison d' une autre source      lumineuse , bloc autre source de lumière
                         de lumière , comme une lampe de rue ou un          est réfléchie capteur photocellulaire , ou
                         autre appareil d'éclairage .                       l'emplacement de l'accessoire .
   En mode de
   détection de
                         Faux déclencheurs causés par une source de
   mouvement , la                                                           Retirer la source de chaleur ou de
                         chaleur comme un radiateur ou sèche ou à la
   lumière reste                                                            l'emplacement de l'accessoire
                         piscine
   allumée en
   permanence .
                         Street ou le trafic trottoir est à l'origine
                                                                            Diminution de la sensibilité.
   La lumière vient      capteur de mouvement
   sur aucune raison     Faux déclencheurs causés par une source de
   apparente                                                                Retirer la source de chaleur ou de
                         chaleur comme un radiateur ou sèche ou à la
                                                                            l'emplacement de l'accessoire
                         piscine
   La lumière vient      L'accessoire peut être installé dans une zone
   pendant la journée    ombragée , comme sous un porche ou faux ,
                                                                            Relocaliser l'accessoire
   ou trop tôt dans la   en évitant la lumière du jour se reflète dans la
   soirée                cellule photoélectrique .



                                              GARANTIE LIMITÉE
Les garanties constructeur, ce montage doit être exempt de vices de matériaux et de fabrication pour une période
de cinq (3) ans à compter de la date d'achat. Cette garantie s'applique uniquement à l'acheteur initial et uniquement
aux produits utilisés dans les conditions normales d'utilisation et de service. Si vous trouvez que ce produit est
défectueux, la seule obligation du fabricant et votre recours exclusif, est la réparation ou le remplacement, à la
discrétion du fabricant, à condition que le produit a été endommagé par un mauvais usage, d'abus, les accidents,
modifications, altérations, d'une négligence ou une mauvaise manipulation. Cette garantie ne s'applique pas à un
produit se trouve avoir été mal installés, set-up, ou utilisé d'une manière non conforme aux instructions livrées
avec le produit. Cette garantie ne s'applique pas à une défaillance du produit résultant d'un accident, une mauvaise
utilisation, abus, négligence, altération ou une mauvaise installation, ou tout autre manquement qui se rapportent à
des matériaux ou d'exécution défectueuse. Cette garantie ne s'applique pas à l'objectif dans une partie quelconque
du produit, tels que la surface et / ou des intempéries, telles que cela est considéré comme une usure normale. Le
fabricant ne garantit pas et décline notamment toute garantie, expresse ou implicite, d'adéquation à un
usage particulier, sauf la garantie qui figure dans ce document. Le fabricant décline expressément toute
responsabilité et ne saurait être tenue responsable pour tout dommage indirect ou accessoire ou des
dommages, incluant mais non limité aux frais de main-d'oeuvre tous les coûts associés au remplacement ou
la réparation du produit.

Page 24


                                                                                                   EXHIBIT C 070
